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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK


 TAVAYA DAVIS,
                                                           Civil Action No. 1:25-cv-00149
                        Plaintiff,                         (Marutollo, M.J.)
                -against-

 Amazon.com, Inc. and Bindu Pirlamarla,

                        Defendant.


                    PROPOSED DISCOVERY PLAN AND SCHEDULING ORDER

        Upon consent of the parties, it is hereby ORDERED as follows:

        1.     The date for completion of automatic disclosures required by Fed. R. Civ. P.

26(a)(1), if not yet completed: April 8, 2025.

        2.     No amendment of the pleadings will be permitted after: April 8, 2025.

        3.     No additional parties may be joined after: April 8, 2025.

        4.     Fact discovery shall be completed by: January 5, 2026.

        5.     Plaintiff shall make Fed. R. Civ. P. 26(a)(2) disclosures, if any, by: October 6, 2025.

        6.     Defendants shall make Fed. R. Civ. P. 26(a)(2) disclosures, if any, by: November 5,

2025.

        7.     All discovery, including expert discovery, shall be completed by: March 5, 2026.

        8.     Have the parties discussed the existence of electronically stored information (ESI)

and discussed the location and production of such information, as required by Fed. R. Civ. P. 26?

Yes.

        9.     Have the parties entered into an ESI protocol? No.

        10.    Final date to take the first step in dispositive motion practice: April 6, 2026.


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       11.    Do the parties wish to be referred to the EDNY’s Court-annexed mediation program

pursuant to Local Civil Rule 83.8? Yes.

       12.    Do the parties consent to jurisdiction before United States Magistrate Judge Joseph

A. Marutollo pursuant to 28 U.S.C. § 636(c)? No.




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       This Scheduling Order may be altered or amended only upon a showing of good cause not

foreseeable as of the date of this order.

CONSENTED TO BY:

 Attorney for Plaintiff                            Attorney for Defendants

                                                   Ashley Jean Hale
 Megan S. Goddard                                  John Paul Guyette
 Clela A. Errington




 39 Broadway, Suite 1540                           101 Park Avenue
 New York, NY 10006                                New York, New York 10078

 212-208-2914                                      212-309-6355

 megan@goddardlawnyc.com                           ashley.hale@morganlewis.com
 clela@goddardlawnyc.com                           john.guyette@morganlewis.com


                                            SO ORDERED:

Dated: Brooklyn, New York
       _________________

                                            __________________________________
                                            JOSEPH A. MARUTOLLO
                                            United States Magistrate Judge




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